Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 1 of 39 PAGEID #: 449
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 2 of 39 PAGEID #: 450
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 3 of 39 PAGEID #: 451
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 4 of 39 PAGEID #: 452
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 5 of 39 PAGEID #: 453
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 6 of 39 PAGEID #: 454
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 7 of 39 PAGEID #: 455
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 8 of 39 PAGEID #: 456
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 9 of 39 PAGEID #: 457
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 10 of 39 PAGEID #: 458
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 11 of 39 PAGEID #: 459
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 12 of 39 PAGEID #: 460
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 13 of 39 PAGEID #: 461
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 14 of 39 PAGEID #: 462
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 15 of 39 PAGEID #: 463
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 16 of 39 PAGEID #: 464
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 17 of 39 PAGEID #: 465
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 18 of 39 PAGEID #: 466
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 19 of 39 PAGEID #: 467
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 20 of 39 PAGEID #: 468
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 21 of 39 PAGEID #: 469
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 22 of 39 PAGEID #: 470
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 23 of 39 PAGEID #: 471
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 24 of 39 PAGEID #: 472
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 25 of 39 PAGEID #: 473
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 26 of 39 PAGEID #: 474
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 27 of 39 PAGEID #: 475
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 28 of 39 PAGEID #: 476
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 29 of 39 PAGEID #: 477
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 30 of 39 PAGEID #: 478
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 31 of 39 PAGEID #: 479
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 32 of 39 PAGEID #: 480
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 33 of 39 PAGEID #: 481
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 34 of 39 PAGEID #: 482
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 35 of 39 PAGEID #: 483
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 36 of 39 PAGEID #: 484

     Case: l:16-cr-00019-MRB Doc #: 35 Filed: 03/17/16 Page: 8 of 10 PAGEID #: 68



                                    STATEMENT OF FACTS


    The United States and the Defendant stipulate andagree thatthe UnitedStates would be able
 toprove thefollowingfacts at trial beyond a reasonable doubt. These are notall thefacts that
 the UnitedStates wouldprove ifthe case proceeded to trial


         At all times relevant, MUNIR ABDULBCADER has resided in West Chester, Ohio, the

  Southern District of Ohio. He became a citizen ofthe United States on September 22,2006.

  During 2014 and 2015, MUNIR ABDULKADER was a college student at a university in

  Cincinnati, Ohio.

         Beginnmg in at least July 2014 and continuing to 2015, MUNIR ABDULKADER

  established and used Twitter accounts. Usinghis Twitter accounts,he posted statements, videos,

  andothercontentindicating his supportfor ISIL. MUNIR ABDULKADER postedan ISIL

  training video, lamented that his cousinhaddied fighting for ISIL, statedthat he siipported ISIL,

  expressed his desire to travel and join ISIL, and expressed his desire to attain "shahada"

  [martyrdom].

         In January2015,MUNIRABDULKADER applied for a passportand instructed thatthe

  passportbe delivered to an address that was not his residence. From approximately March 2015

  to mid-April 2015, he began speaking with a Confidential Human Source (CHS) about his

  (MUNIR ABDULKADER's) desire and intention to travel to Syria in order to join ISIL as a

  fighter. From approximately March 2015 through at least April 2015, MUNIR ABDULKADER

  made plans and preparations to travel to Syria to join ISIL as a filter. He expressed his support

  for ISIL, expressed his intent to become a fighter for ISIL, seemed a passport, saved money for

  the trip, and researched the logistical details oftraveling to and joining ISIL. In approximately

  late April 2015, he expressed concerns about the number of arrests of individuals who were
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 37 of 39 PAGEID #: 485
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 38 of 39 PAGEID #: 486
Case: 1:16-cr-00019-MRB Doc #: 77 Filed: 07/16/18 Page: 39 of 39 PAGEID #: 487
